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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION
RAYMOND WILLIAMS,                                          CASE NO. 1:2Q-CR-Q66
          PETITIONER,                . ;         ^
       V.                                  r ■

UNITED STATES OF AMERICA,              ,             JUDGE MCFARLAND
            RESPONDENT.

                          REPLY BRIEF OF THE PETITIONER

    INTHAT, Under the Claim Number One, as stated In the Government Response Brief,
the use of a charge that, listed in the PSR v/as not a felony is improper, and cannot be
used for the 18 U.S.C. §922(g)(l) charge under Federal law. Another point in Federal
law, Rule 32 requires that the Government make av/are which of any prior offenses that
it chooses to use in its sentencing. For example, in a case \diere a person has five
prior felonies, and the Government, posting the 'predicate offenses* as it must for
use at sentencing, makes a legal error in using one that vi/as say, dismissed, or even
nolle proseque, or by misstatement, v/as a misdemeanor offense labelled in error as a
felony, that sentence issued for the 'prior felony' is error and reversable. In the
case of the Petitioner, his listed 'prior offense' was stated in the PSR as not being
a felony offense, thus does not qualify.
     On page 3 of 6 in that Government Response, it states;
"The Court discussed the series of drug transactions made by the Petitioner as well
as the tampering vri.th evidence of attempting to tlirow the firearm av/ay during the
PQtice chase. For the record, tampering with evidence is a felony of the 4th degree
in Ohio and carries a potential penalty of up to 18 months in prison. The drug
trafficking offenses each carried a potential of up to 20 years. It is clear from the
records that the enhancement fit and was properly applied."
     This is incorrect and legal error. Per Rule 32, the charge for the 'prior
felony' was listed as the improper 'Fleeing and Eluding." this then under Public
Notice, which is what Rule 32 is designed for, v/as the charge the Government picked,
out of the potential others, to go forv/ard with. They cannot, having picked varongly,
then claim, "v/ell, this could have been a felony, so let's use that one," or choose
any alternate charge to fill in for the improper one. As Example, In Pennsylvania,
in a Federal case, a Petitioner had been arrested vath both marijuana and a firearm.
The State passed the case to the Federal Government. The Federal Government declared;
'Vie dn not care about the marijuana charge, but we will prosecute the firearms charge."
The Govemnent charged him under 18 U.S.C. §922(g)(l) and sentenced him on a plea
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agreement to the one charge. It listed, as the 'predicate prior felony,' a State crime
of "Assault," which carried a sentence of up to 4 years. However, tiTie felony assault,
charge in the State of Pennsylvania is Aggravated Assault, and carries up to ten years
while Simple Assault, which the person was charged with, is a Midemeanor offense. The
Federal Government attempted to play the 'year and a day rule,' and claim that since
Simple Assault carried 'up to four years,' it remains a felony charge. Under the 18
U.S.C. §1738, "Full Faith and Credit" law, the Federal Goverment cannot reinterpret a
State conviction held as a Misdemeanor, and convert it to a Federal felony, even if
that offense, had it been committed in the Federal jurisdiction would have constituted
a felony. Case in Point is the Simmons Federal gun case, wherein the Federal Government,
upon seeing cases where a possession carried; 'up to ten years,' thus they sought to
use it for career criminal enhancement. However, the State law dictates that; 'Ve
consider it a midemeanor offense if we give a sentence of five years or less, and a
felony offense if we issue a longer sentence." 150 cases inthe FederalCourts had to
be resentenced, and many were released, when the Federal Court had to remove the
career criminal enhancements of all those convicted of misdemeanors but over a year and
a day in length from that State. This is no different. The Federal Government in those
States chose to use and list, under Rule 32, the 'possession of a firearm' with a term
over a year and a day, thus in their eyes a felony offense, thus upon the "Full Faith
and Credit" laws, could not merely 'swap* the charges they listed as 'predicate prior
felony' with another charge. They had to dismiss, and since the party was convicted,'
could not again raise the charge under a different 'predicate offense,' The Government
had chosen its 'prior' and was legally stuck with the outcome. The same occurs herein.
    By convicting under 18 U.S.C. §922(g)(l), with what they admit was a misdemeanor
'prior,' they are legally bound by that association. The Courts are rife with cases
wherein the 'prior State predicate offenses,' usually in Career Criminal enhancements,
are listed, under Rule 32, and if one of the predicates is overturned, the career
enhancement must be reversed. It does not matter if the person had five prior felony
cases, the list is what binds the Government's case. The list herein was erred, and
the conviction must then be reversed.

   The Government goes even further afield on Page 3 of 6, stating;
"For the record, tampering with evidence is a felony of the 4th degree in Ohio and
carries a potential penalty of up to 18 months in prison," Only, the Petitioner was
never convicted of 'tampering with evidence' in Ohio and thus fails.
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     WHile the Government, in Page 4 of 6, focuses on the losing case of Rahimi,
144 S.Ct. 2706(S.Ct. 2024)[and why would the Supreme Court have given Rahimi permission
to possess a firearm with a road rage incident where he shot at a departing vehicle,
or Whataburger, where his friend's credit card was declined and Rahimi shot the place
'Jp], versus the cases applicable herein; Neal, Wiliams and Duarte, which are simple
firearm 'possession' cases under the Second Amendment, and have not been overturned.
Even the recent decision in Quailes (3rd Cir, 2025) held that Quailes could 'possess'
a weapon, that a 'prior felon' could not legally be barred 'possession' on just those
grounds, and while Quailes also dealt drugs, that does not impact, since simple drug
sales are not, in and of itself, 'crimes of violence,' and Quailes could be permitted
to 'possess' a firearm. That was the discussion given by this Petitioner, and is being
avoided by the Government. The discussion, and Government has waived it by not
mentioning it in their Brief, was counsel was ineffective for failing to research and
then discuss with this Petitioner, the impact of the Quailes, Williams, Neal and Duarte
cases that clearly applied to his matter herein. Therefore, Government has by it .
failure to deny, conceded that counsel was ineffective.
     Even if we were to merely reflect that Government conceded, and they did, on
page 3 of 6, that the 'predicate prior' was erred on the PSR, that it did not qualify
as a proper felony 'prior offense' under the statute, the fact remains that the counsel
advised and encouraged his client to plea, to serve more time for a 'possession' of
a 'firearm by a prior felon' and thus abandoned his duty to his client. Government has
admitted    that fact by the failure to deny it, and furthermore, failed to 4even pursue
an AFFIDAVIT from the Counsel on the ineffectiveness claim. Thus the Attorney did also
fail to deny that it was ineffective and incompetent.
                                    REMEDY SOUGHT

     T'etitioner has exceeded the standard for the requirement of a full Hearing, as
the evidence of ineffectiveness of counsel has not been denied, nor has an AFFIDAVIT
been obtained from the counsel in their own defense, thus that defense is waived by
Briefing laws and Rules. A hearing must then by those Rules, held to determine the
extent of that admitted and undented failure of counsel,



    I, Raymond Williams, hereby certify under penalty of perjury pursuant to Title
28 U.S.C. §1746 the aforesaid true and correct.

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           Dated :                        /             Signature
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Federal Correctional Institution Schuylkill
P.O. Box 759                                                         27 FEB 202S
Minersville, PA 17954-0759

Mailed from
Federal Correctional Institution
Schuylkill,PA

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